          Case: 19-10011    Document: 00515227839         Page: 1   Date Filed: 12/09/2019
CTJ                                                                             FILED
       Case 4:18-cv-00167-O Document 265 Filed 12/09/19         Page 1 of 2 PageID 3087
                                                                     December 09, 2019
                                                                     KAREN MITCHELL
                           United States Court of          Appeals
                                                                 CLERK, U.S. DISTRICT COURT
                                       FIFTH CIRCUIT
                                    OFFICE OF THE CLERK
      LYLE W. CAYCE                                                        TEL. 504-310-7700
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                                                                       NEW ORLEANS, LA 70130



                                  December 09, 2019
      MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
            No. 19-10011      State of Texas, et al v. USA, et al
                              USDC No. 4:18-CV-167 -O

      The court has granted the motion of Attorney Eric A. White to
      withdraw as counsel.

                                        Sincerely,
                                        LYLE W. CAYCE, Clerk

                                        By: _________________________
                                        Roeshawn Johnson, Deputy Clerk
                                        504-310-7998
      Ms. Munera Al-Fuhaid
      Mr. Ryan Wolfe Allison
      Ms. Ginger Anders
      Mr. Peter J. Anthony
      Mr. A. Xavier Baker
      Mr. Benjamin Battles
      Mr. Matthew Joseph Berns
      Mr. Jack R. Bierig
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      Mr. Kenneth Lee Blalack II
      Ms. Kathleen Boergers
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      Ms. Bridget DiBattista
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      Mr. August E. Flentje
      Mr. Benjamin Michael Flowers
      Mr. Brian Rene Frazelle
      Mr. Matthew Hamilton Frederick
      Ms. Elaine Goldenberg
      Ms. Brianne Gorod
      Ms. Maame Gyamfi
      Mr. David J. Hacker
      Ms. Caitlin Joan Halligan
      Mrs. Fadwa A. Hammoud
   Case: 19-10011   Document: 00515227839    Page: 2   Date Filed: 12/09/2019

 Case 4:18-cv-00167-O Document 265 Filed 12/09/19   Page 2 of 2 PageID 3088


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